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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 09-cv-02912-PAB-KLM

PEOPLE OF THE STATE OF COLORADO,

       Plaintiff,

v.

ROBERT RODARTE,
JAMES CISNEROS,
FRANKIE SALAZAR, and
JOSE SALAZAR,

     Defendants.
_____________________________________________________________________

                            MINUTE ORDER
_____________________________________________________________________
ENTERED BY MAGISTRATE JUDGE KRISTEN L. MIX

     This matter is before the Court on Defendant Rodarte’s Amended Motion for Court
Appointed Counsel [Docket No. 13; Filed December 23, 2009] (the “Amended Motion”).

        IT IS HEREBY ORDERED that the Amended Motion is DENIED WITHOUT
PREJUDICE. This Court needs a factual basis for the appointment of counsel to
Defendant on the basis of his alleged indigency. If Defendant completed a financial
affidavit for purposes of the state court holding that he is indigent, counsel is directed to file
that affidavit with this Court. If Defendant did not complete such an affidavit, counsel is
directed to have Defendant complete this Court’s CJA 23 Financial Affidavit form, which is
available on the Court’s website. (See www.cod.uscourts.gov,, click on “Forms,” scroll
down to “Criminal Forms,” click on “CJA 23 Financial Affidavit.”) Counsel shall file
Defendant’s financial affidavit on or before December 30, 2009.

Dated: December 23, 2009
